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                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF OHIO
                                               WESTERN DIVISION


In re:                                                  :
                                                        :
    Alan Weller                                         :          Case No.: 09-37920
    AKA Alan Eugene Weller,                             :          Chapter 13
    AKA Alan E. Weller                                  :          Judge Guy R. Humphrey
    Mary Jane Weller                                    :          ***********************
    AKA Mary Weller,                                    :
    AKA Mary J. Weller                                  :

         Debtor(s).


Response to Notice of Final Cure Payment

                                                                            Last four digits of any number you
Name of creditor:             Wells Fargo Financial Ohio 1, Inc.            use to identify the debtor's account:    5275

Uniform Claim Identifier:                                                   Court claim no. (if known):              9


Part 1: Status of Payments on Claim and Post-Petition Payments
In response to the Trustee's Notice of Final Cure Payment, Creditor states that:
 Section A: Status of Claim Amounts (Choose ONE in Section A)
    As of 11/26/ 2014, Debtor(s) has paid in full the amount required to cure the default on the Creditor's claim.
    As of __________, Debtor(s) has not paid in full the amount required to cure the default on the Creditor's claim.
                 The Creditor contends that the amounts itemized in Part 2 below remain unpaid.
                 The Creditor contends that Trustee disbursement(s) totaling __________ have not yet been posted to the account.
              With the application of these funds, the Debtor(s) will have paid in full the amount required to cure the default on the
              Creditor's claim.
 Section B: Status of Post-Petition Payment, Fees, Expenses and Changes (Choose ONE in Section B)
    Post-Petition Payments Paid by Debtor(s)
            As of ___________, the Creditor agrees that the Debtor(s) is current on all post-petition payments, fees, expenses, and
         charges.
            As of ___________, the Creditor disagrees that the Debtor(s) is current on all post-petition payments, fees, expenses, and
         charges. The Creditor contends that the post-petition payments, fees, expenses, and charges in Part 3 below remain unpaid.
    Post-Petition Payments Paid by Trustee
            As of 11/26/ 2014, the Creditor agrees that the Debtor(s) is current with all post-petition payments consistent with Section
         1322(b)(5) including all fees, charges, expenses, escrow and costs. Debtor(s) is due post petition for 11/31/2015.
                 The Creditor contends that Trustee disbursement(s) totaling ___________ have not yet been posted to the account.
              With application of these funds, the Debtor(s) will be current with all post petition payments consistent with Section
              1322(b)(5) including all fees, charges, expenses, escrow and costs.
            As of __________, the Creditor disagrees that the Debtor(s) is current on all post-petition payments, fees, expenses,
         and/or charges consistent with Section 1322(b)(5). The Creditor contends that the post-petition payments, fees, expenses,
         and charges in Part 3 below remain unpaid.

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Part 2: Itemization of Claim Amounts not Cured by Debtor(s)


      Description                                                                                            Amount

1.    Late charges                                                                                    (1)    $

2.    Non-sufficient funds (NSF) fees                                                                 (2)    $

3.    Attorney's fees                                                                                 (3)    $

4.    Filing fees and court costs                                                                     (4)    $

5.    Advertisement costs                                                                             (5)    $

6.    Sheriff/auctioneer fees                                                                         (6)    $

7.    Title costs                                                                                     (7)    $

8.    Recording fees                                                                                  (8)    $

9.    Appraisal/broker's price opinion fees                                                           (9)    $

10.   Property inspection fees                                                                        (10)   $

11.   Tax advances (non-escrow)                                                                       (11)   $

12.   Insurance advances (non-escrow)                                                                 (12)   $

13.   Property preservation expenses                                                                  (13)   $
      Escrow shortage or deficiency (not included as part of any
14.   installment payment listed in line item 15)                                                     (14)   $

15.   Past Due Payments
      ________ - ________           _______ installments at _______      $0.00

      ________ - ________           _______ installments at _______      $0.00

      ________ - ________           _______ installments at _______      $0.00

                            Past due payments prior to _________ in the total amount of ___________
                            See attached for breakdown.

                                                                      Total payments due              (15)   $          0.00

16.   Other. Specify: _____________________________                                                   (16)   $

17.   Other. Specify: _____________________________                                                   (17)   $

18.   Unapplied Funds                                                                                 (18)   $



19.   Total claim amounts not cured by Debtor(s). Add all of the amounts listed above.                (19)   $          0.00


Part 3: Itemization of Post-Petition Payments, Fees, Expenses and Charges not Cured by
Debtor(s)


      Description                                                                                            Amount

1.    Late charges                                                                                    (1)    $

2.    Non-sufficient funds (NSF) fees                                                                 (2)    $

3.    Attorney's fees                                                                                 (3)    $


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4.    Filing fees and court costs                                                                      (4)    $

5.    Advertisement costs                                                                              (5)    $

6.    Sheriff/auctioneer fees                                                                          (6)    $

7.    Title costs                                                                                      (7)    $

8.    Recording fees                                                                                   (8)    $

9.    Appraisal/broker's price opinion fees                                                            (9)    $

10.   Property inspection fees                                                                         (10)   $

11.   Tax advances (non-escrow)                                                                        (11)   $

12.   Insurance advances (non-escrow)                                                                  (12)   $

13.   Property preservation expenses                                                                   (13)   $

14.   Past Due Payments
               Escrow advance on the account?
          No
          Yes Escrow advance balance on the account is ___________ and will be collected through
      the      escrow portion of the ongoing monthly installments.
      ________ - ________        _______ installments at _______   $0.00

      ________ - ________           _______ installments at _______       $0.00

      ________ - ________           _______ installments at _______       $0.00

                            Past due payments prior to __________ in the total amount of ___________
                            See attached for breakdown

                                                                       Total payments due              (14)   $          0.00

15.   Other. Specify: _____________________________                                                    (15)   $

16.   Other. Specify: _____________________________                                                    (16)   $

17.   Unapplied Funds                                                                                  (17)   $



18.   Total postpetition fees, expenses, and charges. Add all of the amounts listed above.             (18)   $          0.00




                                                                       /s/ Mary E. Krasovic
                                                                      Mary E. Krasovic (0085380)
                                                                      Stacey A. O'Stafy (0070386)
                                                                      John R. Cummins (0036811)
                                                                      Edward H. Cahill (0088985)
                                                                      Manley Deas Kochalski LLC
                                                                      P.O. Box 165028
                                                                      Columbus, OH 43216-5028
                                                                      Telephone: 614-220-5611
                                                                      Fax: 614-627-8181
                                                                      Attorneys for Creditor
                                                                      The case attorney for this file is Mary E. Krasovic.
                                                                      Contact email is mek@manleydeas.com

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                                                                     Additional Documentation




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                                           CERTIFICATE OF SERVICE

       I hereby certify that on December 2, 2014, a copy of the foregoing Response to Notice of Final Cure

was served on the following registered ECF participants, electronically through the court's ECF System at the

email address registered with the court:



       Office of U.S. Trustee                              Eric A. Stamps
       Southern District of Ohio                           Attorney for Alan Weller
       Party of Interest                                   AKA Alan Eugene Weller,
       170 North High Street, #200                         AKA Alan E. Weller and
       Columbus, OH 43215                                  Mary Jane Weller
                                                           AKA Mary Weller,
       Jeffrey M. Kellner                                  AKA Mary J. Weller
       131 North Ludlow Street                             Stamps & Stamps
       Suite 900                                           3814 Little York Road
       Dayton, OH 45402                                    Dayton, OH 45414
       ecfclerk@dayton13.com                               stampslaweric@hotmail.com



       The below listed parties were served via regular U.S. Mail, postage prepaid on December 2,
       2014:

                                                           Miami County Treasurer
       Alan Weller                                         201 West Main Street
       AKA Alan Eugene Weller,                             Troy, OH 45373
       AKA Alan E. Weller
       Mary Jane Weller                                    Wff Cards
       AKA Mary Weller,                                    3201 N 4th Avenue
       AKA Mary J. Weller                                  Sioux Falls, SD 57104
       807 Forest Avenue
       Piqua, OH 45356




                                                            /s/ Mary E. Krasovic




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